               Case 2:21-cr-00111-WBS Document 72 Filed 04/15/24 Page 1 of 2

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 7 United States of America

 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:21-cr-00111-WBS

12                                  Plaintiff,            UNITED STATES’ RESPONSE TO MOTION IN
                                                          LIMINE #3 (TO PROHIBIT REFERENCING
13                           v.                           WITNESSES BY “VICTIM NUMBER”)

14   ROBERT ALLEN POOLEY,                                 DATE: April 29, 2024
                                                          TIME: 9:00 a.m.
15                                 Defendant.             COURT: Hon. William B. Shubb
16

17           The government does not oppose Pooley’s Motion in Limine #3, seeking to prohibit the

18 government from referring to witnesses by victim number. In its filings, the government has referred to

19 victims by number or initials, to protect their privacy to the extent possible, in accordance with

20 Department of Justice policy. At trial, however, victims will testify in open court, so their identities will
21 be known, and the government will refer to testifying victims by their names. Accordingly, the

22 government does not oppose the specific ruling sought by Pooley’s motion.

23           Of course, the government may use the term “victim” at points throughout this fraud trial, as is

24 typical, particularly in opening and closing argument when referring to the victims collectively. The use

25 of the term “victim” is not prejudicial to a defendant’s rights when the jury is properly instructed

26 regarding the burden of proof and the government’s statements taken as a whole do not undermine its

27 burden of proving all of the elements of the crime. See United States v. Edwards, 2017 WL 4159365, at

28 *1 (D. Mont. Sept. 19, 2017) (citing the holding in People of Territory of Guam v. McGravey, 14 F.3d


       U.S. RESPONSE TO MOTION IN LIMINE # 3              1
              Case 2:21-cr-00111-WBS Document 72 Filed 04/15/24 Page 2 of 2

 1 1344, 1348 (9th Cir. 1994) that a simple explanation from the court that the victim was the person the

 2 defendant allegedly subjected to the crime was an adequate safeguard against any potential prejudice

 3 that might flow from the word “victim”); United States v. Washburn, 444 F.3d 1007, 1013 (8th Cir.

 4 2006) (collecting cases); see also In re Homestore.com, Inc., 2011 WL 291176, at *12 (C.D. Cal. Jan.

 5 25, 2011) (denying defendant’s motion in limine to exclude referring to plaintiffs as “victims” because

 6 defendant did not sufficiently show the use of this term would be prejudicial); Sears v. PHP of Alabama,

 7 Inc., 2006 WL 1223302, *3 (M.D. Ala., May 5, 2006) (same). A broad exclusion would be particularly

 8 inappropriate in the context of opening statements and closing arguments, when it is typically explained

 9 to the jury that the statements made by the government are not evidence. See United States v. Sparks,

10 2022 WL 17074850, at *2 (N.D. Cal. Nov. 18, 2022) (permitting the government to refer to a witness as

11 a victim in its opening statement and closing argument).

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     Dated: April 15, 2024                                 PHILLIP A. TALBERT
13                                                         United States Attorney
14
                                                     By: /s/ DHRUV M. SHARMA
15                                                       DHRUV M. SHARMA
                                                         Assistant United States Attorney
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      U.S. RESPONSE TO MOTION IN LIMINE # 3            2
